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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA

LATEEF          MURDOCK,      LORETTE        Case No.   2:23-cv-5846
KENNEY, GWEN LEWI, MARCEL PEREZ
PIRIO, LAYNE BARTER, JOSE CORTEZ             CLASS ACTION COMPLAINT
HERNANDEZ,            ROBERT   LUNDIN,
JAEDON DANIELS, MYCHAEL WILLON,
AMY WEINBERG, DIMITRI LAMDON,
ELIE EL RAI, TATYANA DEKHTYAR,               JURY TRIAL DEMANDED
OLIVIA RODESTA, and LAUREN
DEBELISO individually and on behalf of all
others similarly situated,

                    Plaintiffs,

     vs.

RB HEALTH (US) LLC,
BAYER HEALTHCARE, LLC
GLAXOSMITHKLINE CONSUMER
HEALTHCARE HOLDINGS (US), LLC,
JOHNSON & JOHNSON CONSUMER
INC., KENVUE, INC., PROCTER &
GAMBLE COMPANY, HALEON PLC, and
PFIZER, INC.

                    Defendants.
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         Plaintiffs Lateef Murdock, Lorette Kenney, Gwen Lewi, Marcel Perez Pirio, Layne Barter,

Jaedon Daniels, Jose Cortez Hernandez, Robert Lundin, Mychael Willon, Amy Weinberg, Dimitri

Lamdon, Elie El Rai, Tatyana Dekhtyar, Olivia Rodesta, and Lauren Debeliso (“Plaintiffs”),

individually, and on behalf of all other similarly situated purchasers, as more fully described herein

(the “Class”), bring this class action complaint against RB Health (US), LLC, Bayer HealthCare,

LLC, GlaxoSmithKline Consumer Healthcare Holdings (US), LLC, Johnson & Johnson

Consumer, Inc., Kenvue, Inc., Procter & Gamble Company, and Pfizer, Inc. (collectively,

“Defendants”). Plaintiffs’ allegations are based upon personal knowledge as to themselves and

their own acts, and upon information and belief as to all other matters based on the investigation

conducted by and through Plaintiffs’ attorneys.

    I.   SYNOPSIS

         1.     This putative class action arises from Defendants’ decades-long consumer fraud,

marketing over the counter (“OTC”) nasal decongestants containing phenylephrine (the

“Products”) 1 to sick consumers even though phenylephrine does not alleviate congestion.

         2.     The Food and Drug Administration’s Drug Advisory Committee (“FDA

Committee”) has unanimously concluded that, “the current scientific data do not support that the

recommended dosage of orally administered phenylephrine is effective as a nasal decongestant.” 2

         3.     The scientific community and phenylephrine producers such as Defendants have

known for decades that phenylephrine does not have a decongestive effect. As early as 1993,

manufacturers were on notice that the so-called active ingredient would be destroyed in the

stomachs of unsuspecting consumers, never making it to their bloodstream, a far cry from reaching

bioavailability in the nose. 3 In 2007, further evidence mounted when scientists ran data from the


1
  See “Appendix 1” attached hereto for full list of Products.
2
  Press Release, Food and Drug Administration, FDA Clarifies Results of Recent Advisory Committee
Meeting on Oral Phenylephrine (Sept. 14, 2023) Accessed: https://www.fda.gov/drugs/drug-safety-and-
availability/fda-clarifies-results-recent-advisory-committee-meeting-oral-phenylephrine
3
  Leslie Hendeles, Selecting a Decongestant. 13(6 Pt 2) PHARMACOTHERAPY 129S-134S; discussion 143S-
146S (1993).



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1970s through modern analysis software and determined that oral phenylephrine was no better

than a placebo. 4

       4.      The FDA Committee’s 89-page report lists studies ranging from as late as 1971 to

as recently as 2016 proving that oral phenylephrine will not alleviate congestion. 5 Manufacturers

such as Defendants know and have known about these studies. Sick consumers did not.

       5.      In the face of robust scientific evidence that oral phenylephrine-based

decongestants are ineffective, Defendants continue to mislead consumers by advertising and

marketing their medication as a nasal decongestant (hereinafter referred to as “Challenged

Representations.”)

       6.           The Deception. By advertising and marketing the Products as nasal

decongestants, Defendants mislead reasonable consumers, including Plaintiffs, into believing the

Products are effective nasal decongestants when they are not.

       7.           Reasonable consumers understand the Challenged Representations to mean the

Products are effective decongestants. But because the Products’ so-called active ingredient is

phenylephrine, they do not alleviate congestion.

       8.           Consumers are harmed by paying a premium for the health claims touted by

Defendant that are untrue. If consumers had been aware that phenylephrine-containing products

were ineffective as nasal decongestants, they would not have purchased them, or would have paid

substantially less for them.

       9.           Accordingly, Plaintiffs and all other purchasers of Defendants’ oral phenylephrine

products seek to hold Defendants accountable for their violations of consumer protection statutes,

breaches of warranties, and deceptions. Defendants chose to market and advertise the Products to




4
  Randy Hatton & Leslie Hendeles, et al, Efficacy and Safety of Oral Phenylephrine: Systematic Review
and Meta-Analysis. 41 THE ANNALS OF PHARMACOTHERAPY. 381-90. (2007)
5
  Eli Meltzer, Paul Ratner, and Thomas McGraw, Phenylephrine Hydrochloride Modified-Release Tablets
for Nasal Congestion: a Randomized, Placebo-Controlled Trial in Allergic Rhinitis Patients, 116(1) ANN
ALLERGY ASTHMA IMMUNOL, 66-71. (2016)


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vulnerable consumers suffering from illness despite the mountain of scientific evidence proving

the Products are ineffective.

       10.       Primary Dual Objectives. Plaintiffs bring this action individually and on behalf

of those similarly situated who purchased the Products during the relevant Class Period (Class

defined infra), for dual primary objectives: One, Plaintiffs seek, on their behalf and on behalf of

the Class, injunctive relief to stop Defendants’ unlawful manufacture, marketing, and sale of the

Products as described herein to avoid or mitigate the risk of deceiving the public into believing the

Products can provided the advertised benefits, by requiring that Defendant change its business

practices, which may include one or more of the following: discontinue making, marketing, and/or

selling the Products. Two, Plaintiffs seek on their behalf and on behalf of the Class, monetary

recovery of the premium consumers paid for the Products due to the false and deceptive marketing

and advertising, consistent with permissible law (including, for example, damages, restitution,

disgorgement, and any applicable penalties/punitive damages solely as to those causes of action

so permitted).

 II.   JURISDICTION AND VENUE

       11.       This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, 28 U.S.C. Section 1332, because: (i) the Class consists of 100 or

more members; (ii) the aggregate amount in controversy exceeds $5,000,000, exclusive of interest

and costs; and (iii) minimal diversity exists because at least one Plaintiff (LA) and Defendants are

citizens of different states. This Court has supplemental jurisdiction over any state law claims

pursuant to 28 U.S.C. Section 1367.

       12.       Venue is proper in this District under 28 U.S.C. Section 1391 because a

substantial part of the events, omissions, and acts giving rise to Plaintiffs’ claims occur in this

District. Defendant markets and sells Products in this District, Defendant gains substantial revenue

and profits from doing business in this District, and consumers pay Defendant in this District.

       13.       Defendants are subject to personal jurisdiction in Louisiana based upon sufficient

minimum contacts that exist between each Defendant and Louisiana. Defendants are authorized to


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do and are doing business in Louisiana, and Defendants advertise and solicit business in Louisiana.

Defendants have purposefully availed themselves of the protections of Louisiana law and should

reasonably expect to defend themselves in court in Louisiana for harm arising out of their pervasive

contacts with Louisiana.

III.   PARTIES

       14.        Plaintiff Lateef Murdock. The following is alleged based upon Plaintiff

Murdock’s personal knowledge:

             a. Residence. Plaintiff is, and at all relevant times was, a resident of California

                residing in the county of Los Angeles.

             b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

                Sinus Max,” manufactured by Defendant RB Health, “Benadryl Allergy Plus

                Congestion,” manufactured by Defendants Johnson & Johnson and Kenvue, and

                “Alka-Seltzer Cold and Cough,” manufactured by Defendant Bayer HealthCare.

                All of Plaintiff’s purchases were made in California within the last two years.

       15.        Plaintiff Lorette Kenney. The following is alleged based upon Plaintiff

Kenney’s personal knowledge:

             a. Residence. Plaintiff is, and at all relevant times was, a resident of Maryland

                residing in the county of Carroll.

             b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

                Sinus Max,” manufactured by Defendant RB Health, “Tylenol Cold + Flu” and

                “Sudafed Sinus Congestion,” manufactured by Defendants Johnson & Johnson and

                Kenvue, “Theraflu ExpressMax,” manufactured by Defendants GlaxoSmithKline

                and Haleon, and “DayQuil” and “NyQuil,” manufactured by Defendant Procter &

                Gamble. All of Plaintiff’s purchases were made in Maryland within the last two

                years.

       16.        Plaintiff Gwen Lewi. The following is alleged based upon Plaintiff Lewi’s

personal knowledge:


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             a. Residence. Plaintiff is, and at all relevant times was, a resident of California

                residing in the county of Los Angeles.

             b. Purchase Details and Background Information. Plaintiff purchased “DayQuil”

                and “NyQuil,” manufactured by Defendant Procter & Gamble, and “Mucinex

                Sinus-Max” manufactured by Defendant RB Health. All of Plaintiff’s purchases

                were made in California within the last two years.

       17.        Plaintiff Marcel Perez Pirio. The following is alleged based upon Plaintiff

Pirio’s personal knowledge:

             a. Residence. Plaintiff is, and at all relevant times was, a resident of New Jersey

                residing in the county of Essex.

             b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

                Sinus-Max,” manufactured by Defendant RB Health, “Theraflu ExpressMax,”

                manufactured by Defendants GlaxoSmithKline and Haleon, and “DayQuil” and

                “NyQuil,” manufactured by Defendant Procter & Gamble. All of Plaintiff’s

                purchases were made in New Jersey within the last two years.

       18.        Plaintiff Layne Barter. The following is alleged based upon Plaintiff Barter’s

personal knowledge:

             a. Residence. Plaintiff is, and at all relevant times was, a resident of North Carolina.

             b. Purchase Details and Background Information. Plaintiff Barter purchased

                “Mucinex Sinus-Max,” manufactured by Defendant RB Health and “Tylenol Cold

                & Flu” manufactured by Defendants Johnson & Johnson and Kenvue. All of

                Plaintiff’s purchases were made in North Carolina within the last two years.

       19.        Plaintiff Jaedon Daniels. The following is alleged based upon Plaintiff Daniel’s

personal knowledge:

             a. Residence. Plaintiff is, and at all relevant times was, a resident of Connecticut

                residing in the county of New Haven.




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            b. Purchase Details and Background Information. Plaintiff purchased Mucinex

               Day Relief Tabs, manufactured by Defendant RB Health. Plaintiff’s purchases were

               made in Connecticut within the last two years.

      20.        Plaintiff Jose Cortez Hernandez. The following is alleged based upon Plaintiff

Hernandez’s personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of California

               residing in the county of Los Angeles.

            b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

               Sinus-Max,” manufactured by Defendant RB Health, “Theraflu ExpressMax,”

               manufactured by Defendants GlaxoSmithKline and Haleon, and “NyQuil,”

               manufactured by Defendant Procter & Gamble. All of Plaintiff’s purchases were

               made in California within the last two years.

      21.        Plaintiff Robert Lundin. The following is alleged based upon Plaintiff Lundin’s

personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of Texas residing

               in the county of Harris.

            b. Purchase Details and Background Information. Plaintiff purchased “DayQuil,”

               manufactured by Defendant Procter & Gamble, and “Alka-Seltzer Cold and

               Cough”, manufactured by Defendant Bayer HealthCare. All of Plaintiff’s purchases

               were made in Texas within the last two years.

      22.        Plaintiff Amy Weinberg. The following is alleged based upon Plaintiff

Weinberg’s personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of Louisiana,

               residing in the county of Orleans Parish.

            b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

               Sinus Max,” manufactured by Defendant RB Health, “Tylenol Cold + Flu” and

               “Sudafed Sinus Congestion,” manufactured by Defendants Johnson & Johnson and


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               Kenvue, and “DayQuil” and “NyQuil,” manufactured by Defendant Procter &

               Gamble. All of Plaintiff’s purchases were made in Louisiana within the last year.

      23.        Plaintiff Dimitri Lamdon. The following is alleged based upon Plaintiff

Lamdon’s personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of New York

               residing in the county of Kings.

            b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

               Sinus Max,” manufactured by Defendant RB Health, and “DayQuil” and “NyQuil,”

               manufactured by Defendant Procter & Gamble. All of Plaintiff’s purchases were

               made in New York within the last two years.

      24.        Plaintiff Mychael Willon. The following is alleged based upon Plaintiff Willon’s

personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of Virginia residing

               in the county of James City.

            b. Purchase Details and Background Information. Plaintiff purchased “Sudafed

               Sinus Congestion,” manufactured by Defendants Johnson & Johnson and Kenvue.

               All of Plaintiff’s purchases were made in Virginia within the last two years.

      25.        Plaintiff Elie El Rai. The following is alleged based upon Plaintiff El Rai’s

personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of California

               residing in the county of Riverside.

            b. Purchase Details and Background Information. Plaintiff purchased “NyQuil,”

               manufactured by Defendant Procter & Gamble, and “Tylenol Cold + Flu”

               manufactured by Defendants Johnson & Johnson and Kenvue. All of Plaintiff’s

               purchases were made in California within the last two years.

      26.        Plaintiff Tatyana Dekhtyar. The following is alleged based upon Plaintiff

Dekhtyar’s personal knowledge:


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            a. Residence. Plaintiff is, and at all relevant times was, a resident of New York

               residing in the county of Kings.

            b. Purchase Details and Background Information. Plaintiff purchased “Advil

               Sinus Congestion & Pain,” manufactured by Defendants Pfizer and Haleon. All of

               Plaintiff’s purchases were made in New York within the last two years.

      27.        Plaintiff Olivia Rodesta. The following is alleged based upon Plaintiff Rodesta

personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of Illinois residing

               in the county of Cook.

            b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

               Sinus Max,” manufactured by Defendant RB Health, “Tylenol Sinus + Headache”

               and “Tylenol Sinus Severe” manufactured by Defendants Johnson & Johnson and

               Kenvue, “DayQuil Severe Cold + Flu,” and “DayQuil Cold + Flu” manufactured

               by Defendant Procter & Gamble, “Advil Sinus Congestions & Pain,” manufactured

               by Pfizer, and “Advil Allergy & Congestion Relief,” manufactured by Haleon. All

               of Plaintiff’s purchases were made in Illinois within the last two years.

      28.        Plaintiff Lauren Debeliso. The following is alleged based upon Plaintiff

Debeliso personal knowledge:

            a. Residence. Plaintiff is, and at all relevant times was, a resident of Illinois residing

               in the county of Cook.

            b. Purchase Details and Background Information. Plaintiff purchased “Mucinex

               Sinus Max,” manufactured by Defendant RB Health, “DayQuil Cold + Flu” and

               “NyQuil,” manufactured by Defendant Procter & Gamble. All of Plaintiff’s

               purchases were made in Illinois within the last two years.

      29.        Reliance on Challenged Representations. In making their purchases, Plaintiffs

relied on Defendants’ marketing and advertising claims, that the Products relieve nasal




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decongestion. Plaintiffs understood the Products’ advertising to mean the Products would be

suitable for relieving their congestion.

        30.       Causation/Damages. Plaintiffs would not have purchased the Products, or would

not have paid as much for them, had they known they could not provide the advertised benefits.

        31.       Desire to Repurchase. Plaintiffs continue to see the Products available for

purchase and would like to be able to purchase them again in the future, but only if they could be

sure the Products were compliant with state and federal consumer protection laws.

        32.       Lack of Personal Knowledge and Expertise. Plaintiffs are not personally

familiar with, and do not possess any specialized knowledge skill, experience, or education, in the

manufacture of OTC medication. Therefore, plaintiffs have no way of determining whether

Defendants’ Products can provide decongestive relief.

        33.       Inability to Rely. Plaintiffs are, and continue to be, unable to rely on the Products’

representations, statements, or function as they are advertised.

        34.       Plaintiffs’ Future Harm. Defendants continue to market and sell the Products as

effective nasal decongestants. Plaintiffs want to purchase the Products in the future if they can be

sure the Products can provide the advertised benefits. However, Plaintiffs are average consumers

who are not sophisticated in, for example, the ingredients that go into making OTC medication,

like the Products, and Plaintiffs cannot determine if the Products can achieve their advertised

benefits. Since Plaintiffs would like to purchase the Products again—even though the Products

currently cannot achieve the advertised benefits—Plaintiffs would likely and reasonably, but

incorrectly, assume the Products can achieve the advertised benefits. Accordingly, Plaintiffs are at

risk of reasonably, but incorrectly, assuming Defendants have fixed the Products such that

Plaintiffs may buy them again, believing they can achieve the advertised benefits of congestion

relief. In this regard, Plaintiffs are currently and, in the future, deprived of the ability to rely on the

Products’ advertising and marketing. However, an injunction prohibiting use of the Challenged

Representations unless true would enable Plaintiffs to rely confidently on the Products’ advertising

and marketing in making their future purchase decisions.


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       35.      Defendant RB Health (US) LLC is a limited liability corporation with United

States headquarters in Parsippany, New Jersey. Defendant is a wholly owned subsidiary of Reckitt

Benckiser Group, LLC, a public limited company registered in England and Wales. Defendant,

directly and through its agents, has substantial contacts with and receives substantial benefits and

income from and through the state of Louisiana. Defendant is the owner, manufacturer, and/or

distributor of the Products, and is a company that created and/or authorized the false, misleading,

and deceptive marketing and advertising for the Products. Defendant and its agents manufactured,

advertised, marketed, and sold the Products at issue nationwide and in this judicial district. The

unfair, unlawful, deceptive, and misleading false advertising claims on the Products were prepared,

authorized, ratified, and/or approved by Defendant and its agents, and, accordingly, disseminated

throughout the state of Louisiana and nationwide by Defendant and its agents to deceive and

mislead consumers into purchasing the Products.

       36.      Defendant manufactures and markets products under the “Mucinex” brand name

which contain phenylephrine and purporting to provide decongestive relief. Appendix 1.

       37.      Defendant Bayer HealthCare LLC is a limited liability company with United

States headquarters in Whippany, New Jersey. Bayer HealthCare is a wholly owned subsidiary of

Bayer USA, which in turn is a wholly owned subsidiary of Bayer AG, a public company registered

in Germany. Defendant, directly and through its agents, has substantial contacts with and receives

substantial benefits and income from and through the state of Louisiana. Defendant is the owner,

manufacturer, and/or distributor of the Products, and is a company that created and/or authorized

the false, misleading, and deceptive marketing and advertising for the Products. Defendant and its

agents manufactured, advertised, marketed, and sold the Products at issue nationwide and in this

judicial district. The unfair, unlawful, deceptive, and misleading false advertising claims on the

Products were prepared, authorized, ratified, and/or approved by Defendant and its agents, and,

accordingly, disseminated throughout the state of Louisiana and nationwide by Defendant and its

agents to deceive and mislead consumers into purchasing the Products.




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       38.      Defendant manufactures, markets, and sells “Alka-Seltzer” branded products

containing phenylephrine and purporting to provide decongestive relief. Appendix 1.

       39.      Defendant Johnson & Johnson Consumer, Inc. is a public company registered

in New Jersey with US headquarters in New Brunswick, New Jersey. Defendant, directly and

through its agents, has substantial contacts with and receives substantial benefits and income from

and through the state of Louisiana. Defendant was the owner, manufacturer, and/or distributor of

the Products, and is a company that created and/or authorized the false, misleading, and deceptive

marketing and advertising for the Products. Defendant and its agents manufactured, advertised,

marketed, and sold the Products at issue nationwide and in this judicial district. The unfair,

unlawful, deceptive, and misleading false advertising claims on the Products were prepared,

authorized, ratified, and/or approved by Defendant and its agents, and, accordingly, disseminated

throughout the state of Louisiana and nationwide by Defendant and its agents to deceive and

mislead consumers into purchasing the Products.

       40.      Johnson & Johnson manufactures, markets, and sells “Tylenol Cold + Flu

Severe,” “Tylenol Sinus + Headache,” “Tylenol Sinus Severe,” “Benadryl,” and “Sudafed Sinus

Congestion,” containing phenylephrine and purporting to provide decongestive relief. Appendix

1.

       41.      Defendant Kenvue, Inc. is a Delaware public company with US headquarters

and principal place of business in Skillman, New Jersey. On information and belief, all assets and

liabilities associated with the Products manufactured, sold, and marketed by Johnson & Johnson

are now owned by Kenvue. Prior to 2022, and within the relevant class period, Johnson & Johnson

were responsible for all acts giving rise to all causes of action herein. Defendant, directly and

through its agents, has substantial contacts with and receives substantial benefits and income from

and through the state of Louisiana. Defendant is the owner, manufacturer, and/or distributor of the

Products, and is a company that created and/or authorized the false, misleading, and deceptive

marketing and advertising for the Products. Defendant and its agents manufactured, advertised,

marketed, and sold the Products at issue nationwide and in this judicial district. The unfair,


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unlawful, deceptive, and misleading false advertising claims on the Products were prepared,

authorized, ratified, and/or approved by Defendant and its agents, and, accordingly, disseminated

throughout the state of Louisiana and nationwide by Defendant and its agents to deceive and

mislead consumers into purchasing the Products.

       42.      Kenvue manufactures, markets, and sells “Tylenol Cold + Flu Severe,”

“Benadryl,” and “Sudafed Sinus Congestion,” containing phenylephrine and purporting to provide

decongestive relief. Appendix 1.

       43.      Defendant Procter & Gamble Company (“P&G”) is an Ohio corporation with

its headquarters and principal place of business at One Procter & Gamble Plaza, Cincinnati, Ohio

45202. P&G, directly and through its agents, has substantial contacts with and receives substantial

benefits and income from and through the state of Louisiana. P&G is the owner, manufacturer,

and/or distributor of the Products, and is a company that created and/or authorized the false,

misleading, and deceptive marketing and advertising for the Products. P&G and its agents

manufactured, advertised, marketed, and sold the Products at issue nationwide and in this judicial

district. The unfair, unlawful, deceptive, and misleading false advertising claims on the Products

were prepared, authorized, ratified, and/or approved by Defendant and its agents, and, accordingly,

disseminated throughout the state of Louisiana and nationwide by Defendant and its agents to

deceive and mislead consumers into purchasing the Products.

       44.      P&G manufactures, markets, and sells “Sinex,” “Vicks DayQuil” and “NyQuil”

branded products containing phenylephrine and purporting to provide decongestive relief.

Appendix 1.

       45.      Defendant Pfizer Inc. is a New York corporation with its headquarters and

principal place of business at 66 Hudson Boulevard, New York, NY 10001. Pfizer, directly and

through its agents, has substantial contacts with and receives substantial benefits and income from

and through the state of Louisiana. Pfizer was the owner, manufacturer, and/or distributor of the

Products, and is a company that created and/or authorized the false, misleading, and deceptive

marketing and advertising for the Products. Pfizer and its agents manufactured, advertised,


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marketed, and sold the Products at issue nationwide and in this judicial district. The unfair,

unlawful, deceptive, and misleading false advertising claims on the Products were prepared,

authorized, ratified, and/or approved by Defendant and its agents, and, accordingly, disseminated

throughout the state of Louisiana and nationwide by Defendant and its agents to deceive and

mislead consumers into purchasing the Products.

       46.       Pfizer manufactured, marketed, and sold “Advil Sinus Congestions & Pain”

products containing phenylephrine and purporting to provide decongestive relief until 2022.

Appendix 1.

       47.       Defendant GlaxoSmithKline Consumer Healthcare Holding (US), LLC is a

limited public company registered in England with United States headquarters in Warren, New

Jersey. Defendant, directly and through its agents, has substantial contacts with and receives

substantial benefits and income from and through the state of Louisiana. Defendant is the owner,

manufacturer, and/or distributor of the Products, and is a company that created and/or authorized

the false, misleading, and deceptive marketing and advertising for the Products. Defendant and its

agents manufactured, advertised, marketed, and sold the Products at issue nationwide and in this

judicial district. The unfair, unlawful, deceptive, and misleading false advertising claims on the

Products were prepared, authorized, ratified, and/or approved by Defendant and its agents, and,

accordingly, disseminated throughout the state of Louisiana and nationwide by Defendant and its

agents to deceive and mislead consumers into purchasing the Products.

       48.       Defendant manufactured, marketed, and sold “Theraflu” branded products

containing phenylephrine and purporting to provide decongestive relief until 2022. Appendix 1.

       49.       Defendant Haleon, plc is a limited public company registered in England and

Wales with United States headquarters in Warren, New Jersey. On information and belief, all

assets and liabilities associated with the Products manufactured, sold, and marketed by Defendants

GlaxoSmithKline and Pfizer are now owned by Haleon. Prior to 2022, and within the relevant

class period, GlaxoSmithKline and Pfizer were responsible for all acts giving rise to all causes of

action herein. Defendant, directly and through its agents, has substantial contacts with and receives


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substantial benefits and income from and through the state of Louisiana. Defendant is the owner,

manufacturer, and/or distributor of the Products, and is a company that created and/or authorized

the false, misleading, and deceptive marketing and advertising for the Products. Defendant and its

agents manufactured, advertised, marketed, and sold the Products at issue nationwide and in this

judicial district. The unfair, unlawful, deceptive, and misleading false advertising claims on the

Products were prepared, authorized, ratified, and/or approved by Defendant and its agents, and,

accordingly, disseminated throughout the state of Louisiana and nationwide by Defendant and its

agents to deceive and mislead consumers into purchasing the Products.

          50.       Haleon manufactures, markets, and sells “Theraflu Expressmax,” “Advil Sinus

Congestion & Pain,” and “Advil Allergy & Congestion Relief,” manufactured by Haleon

containing phenylephrine and purporting to provide decongestive relief. Appendix 1.

IV.       FACTUAL ALLEGATIONS

          A.       Background on Products and Product Claims

          51.       Phenylephrine Market. There are two leading active ingredients found in oral

nasal decongestant products: phenylephrine and pseudoephedrine. Phenylephrine completely

replaced        pseudoephedrine    in   over-the-counter    medication     following    the   Combat

Methamphetamine Epidemic Act in 2005, since the latter was a common ingredient in illegal

methamphetamine production. 6

          52.       Pseudoephedrine is an effective decongestant, but following its misuse, is

incredibly inconvenient to buy. Pharmacies are required to hold pseudoephedrine behind the

counter, where it must be asked for. Consumers are limited in the amount they can purchase and

often are required to provide identifying and personal information so all pseudoephedrine can be

tracked.

          53.       Accordingly, since 2004, when pseudoephedrine was slated to move behind-the-

counter, phenylephrine has been the preferred active ingredient for manufacturers of OTC oral


6
    Combat Methamphetamine Epidemic Act of 2005, Pub. L. No. 109-177, § 701 et seq., 120 Stat. 192.


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nasal decongestants. Just last year (2022), phenylephrine-based decongestants yielded a massive

$1.76 billion in sales.

        54.      FDA Committee. On September 11 and 12 of this year, the FDA’s non-

prescription Drug Advisory Committee met to discuss the efficacy of oral phenylephrine as a nasal

decongestant. The FDA Committee was unanimous in finding that oral phenylephrine was no more

effective than a placebo at relieving congestion.

        55.      Phenylephrine is Ineffective. Nasal decongestants purportedly work by

decreasing swelling in sinus cavities, the nose, and the ears, to make it easier to breathe and ease

discomfort. 7 However, phenylephrine is quickly metabolized in the stomach, rendering it

unavailable to travel through a bloodstream and to the sinuses. For example, only 38% of a

phenylephrine dose will reach circulation in the sinuses while 90% of the same dose

pseudoephedrine will reach its target. 8 Phenylephrine is so quickly metabolized that it has no effect

on decongestion. 9

        56.      One study took data from the 1970s, when phenylephrine was first approved by

the FDA, to 2007, and subjected it to the rigors of modern research practices and computer

analysis. Analyzing that data, the authors concluded that, by each of their markers, phenylephrine

was no more effective than a placebo. 10

        57.      As a result of this study, the lead scientists, Randy Hutton, PharmD and Leslie

Hendeles, PharmD, et al, filed a citizen’s petition asking the FDA to require better proof of

phenylephrine’s efficacy. 11 The Drug Advisory Committee convened in 2007 and concluded that

7
   Phenylephrine 10mg Tablet Oral Decongestants- Uses, Side Effects, and More, WEBMD,
https://www.webmd.com/drugs/2/drug-21821/phenylephrine-oral/details (Accessed Sept 21, 2023).
8
     Isadore Kanfer, Roslind Dowse & Vusumuzi Vuma, Pharmacokinetics of Oral
Decongestants, 13 PHARMACOTHERAPY 6 PART 2, 116-28S (1993).
9
   Understanding Phenylephrine Metabolism, Pharmacokinetics, Bioavailability and Activity, Briefing
Document      for    the  Nonprescription      Drugs    Advisory     Committee,    (Available    from:
http://www.fda.gov/ohrms/dockets/ac/07/briefing/2007-4335b1-01-Schering-Plough.pdf) (2007).
10
   Randy Hatton & Leslie Hendeles, et al, Efficacy and Safety of Oral Phenylephrine: Systematic Review
and Meta-Analysis. 41 THE ANNALS OF PHARMACOTHERAPY. 381-90. (2007)
11
   Randy Hatton & Leslie Hendeles. Citizens Petition—Phenylephrine, 2007P-0047/CP1.
(Available from: http://www.fda.gov/ohrms/dockets/dockets/07p0047/07p-0047



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available evidence was “suggestive of efficacy,” yet voted 9 to 12 that more studies were

required. 12

        58.      The Drug Advisory Committee’s 2007 report presented a meta-analysis replete

with unpublished studies, driven largely by a single small study from a single laboratory (Elizabeth

Biochemical), and relied on subjective self-reported symptom data of these faulty studies. 13

Despite cherry-picking the data, the FDA’s conclusion was far from confident, simply stating that

the evidence was “suggestive of efficacy.”

        59.      Defendants, as large multinational corporations that benefit greatly from the

lucrative decongestant market, were aware of the 2007 Drug Advisory Committee’s shoddy and

self-interested findings, as well as of the preceding objective studies that directly contradicted any

suggestion of efficacy. 14
        60.      Indeed, studies post-dating the 2007 committee also flatly contradicted its weak

findings. One such report was provided by Schering–Plough Pharmaceuticals in 2009,

manufacturers of Claritin, who had contemplated replacing pseudoephedrine with phenylephrine

in their allergy medicine. The study, conducted in allergen exposure chambers to measure

objective markers of decongestive relief, found no significant difference from a placebo when

phenylephrine was administered. Another study in 2009 utilized similar objective measurements

to Schering-Plough and reached the same conclusion, contradicting the 2007 report entirely. 15


-cp00001-01-vol1.pdf) (2007).
12
   Food and Drug Administration. Summary Minutes of the Nonprescription Drugs
Advisory Committee Meeting, December 14, 2007. (Available from: http://www.
fda.gov/ohrms/dockets/ac/07/minutes/2007-4335m1-Final.pdf) (2007).
13
   Chrtine Kollar, Heinz Schneider, Joel Waksman and Eva Krusinka, Meta-Analysis of the Efficacy
of a Single Dose of Phenylephrine 10 mg Compared with Placebo in Adults with
Acute Nasal Congestion due to Common Cold, 29 CLIN THER, 1057-70 (2007).
14
   Friedrich Horak, Petra Zieglmayer, René Zieglmayer, Patrick Lemell, Ruji Yao, Heribert Staudinger and
Melvyn Danzig, A Placebo-Controlled Study of the Nasal Decongestant Effect of Phenylephrine
and Pseudoephedrine in the Vienna Challenge Chamber, 102 ANN ALLERGY ASTHMA
IMMUNOL, 116-20 (2009).
15
   James Day, Maureen Briscoe, Jodan Ratz, Melvyn Danzig and Ruji Yao, Efficacy of loratadine-
Montelukast on Nasal Congestion in Patients with Seasonal Allergic Rhinitis in
an Environmental Exposure Unit, 102 ANN ALLERGY ASTHMA IMMUNOL



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       61.       In contrast to the 2007 Drug Advisory Committee’s reliance on subjective

symptom scores in their meta-analysis, Hatton and Hendeles’ own meta-analysis, which prompted

the citizen’s petition, relied exclusively on nasal airway resistance, an objective measure. 16 This

year’s Drug Advisory Committee remarked on how subjective data on decongestion was

worthless, since tracking decongestion over a period of time would always result in lower

congestion levels as the body naturally fights against the underlying cause of sickness. 17

       62.       In 2015, the largest study yet investigated phenylephrine’s efficacy. With 539

subjects, the study quadrupled the Products’ recommended dose (from 10mg to 40mg), the authors

stated the phenylephrine was still “no more effective than a placebo.” 18 The study postulated that
this high a dose could have adverse health consequences in exchange for no congestion relief.

       63.       The scientific consensus, unanimously vindicated by the FDA Committee, is that

phenylephrine is ineffective.

       64.       Defendants, as manufacturers of phenylephrine nasal decongestants and who

benefit greatly from their position in a lucrative market, are aware of these studies, petitions, and

committee findings. Despite their awareness, Defendants continue to market the Products as

effective nasal decongestants, demanding a hefty price tag for a drug with no decongestive effect.

       65.       Defendants knew that the basis for the FDA’s approval of oral phenylephrine as

a nasal decongestant as Generally Recognized As Safe and Effective (“GRASE”) was faulty.

       66.       Instead of informing the FDA that the GRASE status assigned to oral

phenylephrine was inadequate, Defendants defrauded the FDA by intentionally failing to inform

or withhold information from the FDA about the ineffectiveness of oral phenylephrine. Defendants

acted knowingly and deliberately in order to continue to use the GRASE status as a shield to hide

328-38 (2009).
16
   Randy Hatton & Leslie Hendeles, et al, Efficacy and Safety of Oral Phenylephrine: Systematic Review
and Meta-Analysis. 41 THE ANNALS OF PHARMACOTHERAPY. 381-90. (2007)
17
   NDAC Briefing Document, Oral Phenylephrine in the CCABA Monograph, at 52 (Available at
https://www.fda.gov/media/171915/download) (2023).
18
   Eli Meltzer, Paul Ratner, and Thomas McGraw, Oral Phenylephrine HCl for Nasal Congestion in
Seasonal Allergic Rhinitis: A Randomized, Open-label, Placebo-controlled Study, 3(5) J. OF ALLERGY &
CLINICAL IMMUNOLOGY, 702-708 (2015).


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under the protection of preemption and continue to manufacture and sell products Defendants

knew were ineffective.

       67.      The Products’ Substantial Similarity. Plaintiffs, in aggregate, purchased

“Mucinex Sinus-Max,” “Tylenol Cold + Flu Severe,” “Tylenol Sinus + Headache,” “Tylenol Sinus

Severe,” “TherafluExpressMax,” “Benadryl Allergy Plus Congestion,” “Sudafed Sinus

Congestion,” “Advil Sinus Congestion & Pain,” “Advil Allergy & Congestion Relief,” “Benadryl

Allergy Plus Congestion,” “Vicks DayQuil” and “Vicks NyQuil,” “Alka-Seltzer Cold and Cough”

(“Purchased Medicines”),

       68.      All the Products, including the Purchased Medicines, are substantially similar:

               a. Defendant.     All   Products,    including   the   Purchased   Medicines,   are

                  manufactured, sold, marketed, advertised by a Defendant in this action.

               b. Purpose. All Products, including the Purchased Medicines, are intended to be

                  consumed.

               c. Key Ingredients. All Products, including the Purchased Medicines, list

                  phenylephrine as their active ingredient targeting nasal congestion.

               d. Marketing Demographics. All Products, including the Purchased Medicines,

                  are marketed directly to congested consumers for personal consumption.

               e. Representations. All Products, including the Purchased Medicines, are

                  marketed and advertised as nasal decongestants.

               f. Misleading Effect. The misleading effect of the Challenged Representations

                  on consumers is the same for all Products including the Purchased Medicines—

                  consumers overpay a premium for a product that claims to relieve nasal

                  decongestion when they in fact do not.

       B.      Plaintiffs and Reasonable Consumers Were Misled by the Challenged
               Representations
       69.      Advertising and Marketing Misrepresentation of the Products. Defendants

manufacture, market, advertise, and sell the Products as nasal decongestants.



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           70.   Consumers reasonably understand these statements to mean the Products are

scientifically established to relieve pressure in their sinuses and act as a decongestant, when they

are not.

           71.   Material. The Challenged Representations are material to reasonable consumers,

including Plaintiffs, because they have the potential to influence consumers’ decision to purchase

the Products, as set forth herein. Plaintiffs would not have purchased the Products or would have

paid significantly less for them if they had known that the Products’ advertising and marketing

claims were false and misleading and that the Products cannot relieve nasal decongestion.

           72.   Reliance. Reasonable consumers, including Plaintiffs, reasonably rely on the

Products’ Challenged Representations in deciding to purchase the Products.

           73.   Falsity. The Products’ Challenged Representations are false and deceptive

because the Products do not provide the advertised benefits.

           74.   Consumers Lack Knowledge of Deception/Fraudulence. Consumers,

including Plaintiffs, who purchased the Products, did not know, and had no reason to know, at the

time of purchase, that the Products were incapable of providing the advertised benefits.

           75.   Defendant’s Knowledge. Defendants knew, or should have known, that their

Products’ Challenged Representations were false, misleading, deceptive, and unlawful at the time

that Defendant manufactured, marketed, advertised, and sold the Products using the Challenged

Representations to Plaintiffs and the Class. Defendants intentionally and deliberately used the

Challenged Representations to cause Plaintiff and similarly situated consumers to purchase the

Products. Defendants, as manufacturers, have exclusive control over how the Products were

marketed and advertised, and Defendants readily and easily could have remedied the deception by

stopping the use of the Challenged Representations. Instead, Defendants deliberately chose to

market the Products with the Challenged Representations, thereby misleading consumers into

buying or overpaying for the Products. Thus, Defendants knew, or should have known, at all

relevant times, that the Challenged Representations mislead reasonable consumers, such as




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Plaintiffs, into buying the Products to attain the product attributes that Defendant falsely advertised

and warranted.

       76.        Detriment. Plaintiffs and similarly situated consumers would not have purchased

the Products if they had known the Products could not provide the advertised benefits or would

not have overpaid a price premium for the Products, if they had known that the Challenged

Representations were false claimed, promised, warranted, advertised, marketed, and represented.

Accordingly, based on Defendants’ material misrepresentations, reasonable consumers, including

Plaintiffs, purchased the Products to their detriment.

 V.    CLASS ALLEGATIONS

       77.        Class Definition. Plaintiffs bring this action on their own behalf and on behalf of

all other persons similarly situated. The Classes Plaintiffs seeks to represent are defined as follows:

                 All residents of Louisiana who, within one year prior to the filing of this
                 Complaint, purchased one or more of the Products for purposes other
                 than resale (the “Louisiana Class”).
                 All residents of California who, within four years prior to the filing of
                 this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “California Class”).

                 All residents of Maryland who, within four years prior to the filing of
                 this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “Maryland Class”).

                 All residents of New Jersey who, within six years prior to the filing of
                 this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “New Jersey Class”).

                 All residents of North Carolina who, within four years prior to the filing
                 of this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “North Carolina Class”).

                 All residents of New York who, within three years prior to the filing of
                 this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “New York Class”).

                 All residents of Texas who, within two years prior to the filing of this
                 Complaint, purchased one or more of the Products for purposes other
                 than resale (the “Texas Class”).

                 All residents of Connecticut who, within three years prior to the filing
                 of this Complaint, purchased one or more of the Products for purposes
                 other than resale (the “Connecticut Class”).


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               All residents of Virginia who, within two years prior to the filing of this
               Complaint, purchased one or more of the Products for purposes other
               than resale (the “Virginia Class”).

               All residents of Illinois who, within three years prior to the filing of this
               Complaint, purchased one or more of the Products for purposes other
               than resale (the “Illinois Class”).


               (“Louisiana Class,” “California Class,” “Maryland Class,” “New Jersey Class,”

“North Carolina Class,” “New York Class,” “Texas Class,” “Connecticut Class,” “Virginia Class,”

“Illinois Class,” collectively, the “Class”)

       78.       Class Definition Exclusions. Excluded from the Class are: (i) Defendants, their

assigns, successors, and legal representatives; (ii) any entities in which Defendants have

controlling interests; (iii) federal, state, and/or local governments, including, but not limited to,

their departments, agencies, divisions, bureaus, boards, sections, groups, counsels, and/or

subdivisions; and (iv) any judicial officer presiding over this matter and person within the third

degree of consanguinity to such judicial officer.

       79.       Reservation of Rights to Amend the Class Definition. Plaintiffs reserve the

right to amend or otherwise alter the class definition presented to the Court at the appropriate time

in response to facts learned through discovery, legal arguments advanced by Defendants, or

otherwise.

       80.       Numerosity. The Class is so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the thousands or

hundreds of thousands throughout California, Maryland, New Jersey, Louisiana, New York, North

Carolina, Texas, Virginia, Connecticut, and Illinois. The precise number of Class members and

their identities are unknown to Plaintiffs at this time but may be determined through discovery.

Class members may be notified of the pendency of this action by mail and/or publication through

the distribution records of Defendants and third-party retailers and vendors.

      81.        Common Questions Predominate. Common questions of fact and law

predominate over questions which may affect individual class members, including the following:


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                 a.         Whether Defendants knew that oral phenylephrine was ineffective as a nasal

decongestant;

                 b.         Whether     Defendants    marketed     the   Products   as   effective   nasal

decongestants;

                 c.         What measures Defendants took to conceal the true nature, i.e.,

ineffectiveness, of the Products;

                 d.         Whether Defendant had a duty to disclose the true nature of the Products,

i.e., their ineffectiveness as nasal decongestants;

                 e.         Whether Defendant’s conduct constitutes a breach of warranty;

                 f.         Whether Defendant was unjustly enriched by its deceptive conduct;

                 g.         Whether Plaintiff and the Class paid more money or a premium amount for

the Products than they actually received; and

                 h.         How much more money or premium amount Plaintiff and the Class paid for

the Products than they actually received.

       82.            Typicality. Plaintiffs’ claims are typical of the claims of the Class, and Plaintiffs

will fairly and adequately represent and protect the interests of the Class. Plaintiffs have retained

competent and experienced counsel in class action and other complex litigation. Plaintiffs suffered

damages as a direct and proximate result of the same wrongful practices in which Defendants

engaged to harm the class.

       83.            Adequacy. Plaintiffs are an adequate representative of the Class they seeks to

represent because his interests do not conflict with the interests of the Class Members Plaintiffs

seek to represent. Plaintiffs will fairly and adequately protect Class Members’ interests and has

retained counsel experienced and competent in the prosecution of complex class actions, including

complex questions that arise in consumer protection litigation.

       84.            Superiority and Substantial Benefit. A class action is superior to other available

methods for fair and efficient adjudication of this controversy. The expense and burden of




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individual litigation would make it impracticable or impossible for the Class to prosecute their

claims individually.

       85.        Manageability. The trial and litigation of Plaintiffs’ claims are manageable.

Individual litigation of the legal and factual issues raised by Defendants’ conduct would increase

delay and expense to all parties and the court system. The class action device presents far fewer

management difficulties and provides the benefits of a single, uniform adjudication, economics of

scale, and comprehensive supervision by a single court.

       86.        Injunctive/Equitable Relief. Defendants have acted on grounds generally

applicable to the entire Class, thereby making final injunctive relief and/or corresponding

declaratory relief appropriate with respect to the Class as a whole. The prosecution of separate

actions by individual Class members would create the risk of inconsistent or varying adjudications

with respect to individual Class members that would establish incompatible standards of conduct

for Defendants.

       87.        Inconsistent Rulings. Absent a class action, Defendants will likely retain the

benefits of their wrongdoing. Because of the small size of the individual Class members’ claims,

few, if any, Class members could afford to seek legal redress for the wrongs complained of herein.

Absent a representative action, the Class will continue to suffer losses and Defendants will be

allowed to continue these violations of law and to retain the proceeds of its ill-gotten gains.

       88.        Plaintiffs and the Class have suffered injury in fact and have lost money because

of Defendants’ false representations. Plaintiffs and the Class purchased the Products under the

false belief that the Products could provide the advertised benefits. Plaintiffs and the Class relied

upon Defendants’ advertising and marketing claims and would not have purchased the Products,

or would paid significantly less for them if they had known that the Products could not provide the

advertised benefits.




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                                     CAUSES OF ACTION

                                          COUNT ONE

                    Violation of California Consumers Legal Remedies Act,

                               (California Civil Code 1750, et seq.)

                               (On Behalf of the California Class)

       89.        Incorporation by Reference. Plaintiffs Lateef Murdock, Gwen Lewi, Jose

Cortez Hernandez, and Elie El Rai re-allege and incorporate by reference all allegations contained

in this complaint, as though fully set forth herein.

       90.        California Class. Plaintiffs Murdock, Lewi, Cortez Hernandez, and Elie El Rai

bring this claim individually and on behalf of the California Class who purchased the Products

within the applicable statute of limitations.

       91.        CLRA Standard. The CLRA provides that “unfair methods of competition and

unfair or deceptive acts or practices undertaken by any person in a transaction intended to result

or which results in the sale or lease of goods or services to any consumer are unlawful.”

       92.        Goods/Services. The Products are “goods,” as defined by the CLRA in California

Civil Code §1761(a).

       93.        Defendant. Defendants are each a “person,” as defined by the CLRA in California

Civil Code §1761(c).

       94.        Consumers. Plaintiffs and members of the Class are “consumers,” as defined by

the CLRA in California Civil Code §1761(d).

       95.        Transactions. The purchase of the Products by Plaintiffs and members of the

Class are “transactions” as defined by the CLRA under California Civil Code section 1761(e).

       96.        Violations of the CLRA. Defendants violated the following sections of the

CLRA by advertising and selling the Products to Plaintiffs and the Class through the false,

misleading, deceptive, and fraudulent Challenged Representations:

             a. Section 1770(a)(5) by representing that the Products have
                “characteristics, . . . uses [or] benefits . . . which they do not have.”



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              b. Section 1770(a)(7) by representing that the Products “are of a particular
                 standard, quality, or grade . . . [when] they are of another.”


              c. Section 1770(a)(9) by advertising the Products “with [the] intent not to
                 sell them as advertised.”

        97.        Knowledge. Defendants’ uniform material representations regarding the Products

were likely to deceive, and Defendants knew or should have known that its representations were

untrue and misleading.

        98.        Malicious. Defendants’ conduct is malicious, fraudulent, and wanton in that

Defendant intentionally misled and withheld material information from consumers, including

Plaintiffs, to increase the sales of the Products.

        99.        Plaintiff Could Not Have Avoided Injury. Plaintiffs and members of the Class

could not have reasonably avoided such injury. Plaintiffs and members of the Class were unaware

of the existence of the facts that Defendants suppressed and failed to disclose, and Plaintiffs and

members of the Class would not have purchased the Products and/or would have purchased them

on different terms had they known the truth.

        100.       Causation/Reliance/Materiality. Plaintiffs and the Class suffered harm as a

result of Defendants’ violations of the CLRA because they purchased the Products relying on the

Challenged Representations in deciding to purchase the Products. The Challenged Representations
were a substantial factor. The Challenged Representations were material because a reasonable

consumer would consider them important in deciding whether to purchase the Products.

        101.       Injunction. Given that Defendants’ conduct violated California Civil Code

section 1780, Plaintiff and members of the Class are entitled to seek, and do hereby seek, injunctive

relief to put an end to Defendant’s violations of the CLRA. Plaintiffs have no adequate remedy at

law. Without equitable relief, Defendants’ unfair and deceptive practices will continue to harm

Plaintiffs and the Class.




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                                          COUNT TWO

                        Violation of California False Advertising Law,

                         (Business & Professions Code 17500, et seq.)

                               (On Behalf of the California Class)

       102.      Incorporation by Reference. Plaintiffs Lateef Murdock, Gwen Lewi, Jose

Cortez Hernandez, and Elie El Rai re-allege and incorporate by reference all allegations contained

in this complaint, as though fully set forth herein.

       103.      California Class. Plaintiffs Murdock, Lewi, Cortez Hernandez, and Elie El Rai

bring this claim individually and on behalf of the California Class who purchased the Product

within the applicable statute of limitations.

       104.      FAL Standard. The False Advertising Law, codified at Cal. Bus. & Prof. Code

section 17500, et seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”

       105.      False & Material Challenged Representations Disseminated to Public.

Defendants violated § 17500 when it advertised and sold the Products through unfair, deceptive,

untrue, and misleading Challenged Representations disseminated to the public through the

Products’ marketing and advertising. These representations were false because the Products did

not conform to them. The representations were material because they are likely to mislead a

reasonable consumer into purchasing the Products.

       106.      Knowledge. In making and disseminating the Challenged Representations

alleged herein, Defendants knew or should have known that the representations were untrue or

misleading and acted in violation of § 17500.

       107.      Intent to sell. Defendants’ conduct was specifically designed to induce

reasonable consumers, like Plaintiffs and the Class, to purchase the Products.

       108.      Causation/Damages. As a direct and proximate result of Defendants’ misconduct

in violation of the FAL, Plaintiffs and members of the Class were harmed in the amount of the

purchase price they paid for the Products. Further, Plaintiffs and members of the Class have

suffered and continue to suffer economic losses and other damages including, but not limited to,


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the amounts paid for the Products, and any interest that would have accrued on those monies, in

an amount to be proven at trial. Accordingly, Plaintiffs seeks a monetary award for violation of

the FAL in damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs

and the Class for said monies, as well as injunctive relief to enjoin Defendants’ misconduct to

prevent ongoing and future harm that will result.

                                         COUNT THREE

                      Violation of California Unfair Competition Law,

                     (Business & Professions Code Section 17200, et seq.)

                               (On Behalf of the California Class)

        109.      Incorporation by Reference. Plaintiffs Lateef Murdock, Gwen Lewi, Jose

Cortez Hernandez, and Elie El Rai re-allege and incorporate by reference all allegations contained

in this complaint, as though fully set forth herein.

        110.      California Class. This cause of action is brought pursuant to Business and

Professions Code Section 17200, et seq., on behalf of Plaintiffs Murdock, Lewi, Cortez Hernandez,

and Elie El Rai and the California Class who purchased the Product within the applicable statute

of limitations.

        111.      The UCL. California Business & Professions Code, sections 17200, et seq. (the

“UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall

mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue

or misleading advertising.”

        112.      False Advertising Claims. Defendants, in their advertising and marketing of the

Products, made misleading statements regarding the quality and characteristics of the Products—

specifically, Defendants advertised and marketed the Products as effective nasal decongestants

despite the Products’ inclusion of phenylephrine, which is no more effective than a placebo.

        113.      Defendants’ Deliberately Fraudulent Marketing Scheme. Defendants do not

have any reasonable basis for the claims about the Products made in Defendants’ advertising and

marketing of the Products because the Products cannot provide the advertised benefits. Defendants


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knew and continues to know that the Products cannot provide the advertised benefits (i.e., nasal

decongestion or congestion relief), though Defendants intentionally advertised and marketed the

Products to deceive reasonable consumers into believing that they could achieve the advertised

benefits.

       114.      Misleading Advertising and Marketing Cause Purchase of Products.

Defendants’ advertising and marketing of the Products using the Challenged Representations

continues to lead reasonable consumers, including Plaintiffs, to believe the Products can truly

relieve congestion, when they cannot.

       115.      Injury in Fact. Plaintiffs and the Class have suffered injury in fact and have lost

money or property as a result of and in reliance upon Defendant’s Challenged Representations—

namely, Plaintiffs and the Class lost the money they paid for the Products they purchased from

Defendant.

       116.      Conduct Violates the UCL. Defendants’ conduct, as alleged herein, constitutes

unfair, unlawful, and fraudulent business practices pursuant to the UCL. The UCL prohibits unfair

competition and provides, in pertinent part, that “unfair competition shall mean and include

unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or misleading

advertising.” Cal. Bus & Prof. Code § 17200. In addition, Defendants’ use of various forms of

advertising media to advertise, call attention to, or give publicity to the sale of goods or

merchandise that are not as represented in any manner constitutes unfair competition, unfair,

deceptive, untrue or misleading advertising, and an unlawful business practice within the meaning

of Business and Professions Code Sections 17200 and 17531, which advertisements have deceived

and are likely to deceive the consuming public, in violation of Business and Professions Code

Section 17200.

       117.      No Reasonably Available Alternatives/Legitimate Business Interests.

Defendants failed to avail itself of reasonably available, lawful alternatives to further its legitimate

business interests.




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       118.     Business Practice. All the conduct alleged herein occurred and continues to occur

in Defendants’ business. Defendants’ wrongful conduct is part of a pattern, practice and/or

generalized course of conduct, which will continue daily until Defendants voluntarily alter their

conduct or Defendants are otherwise ordered to do so.

       119.     Injunction. Pursuant to Business and Professions Code Sections 17203 and

17535, Plaintiffs and the Class seek an order from this Court enjoining Defendants from continuing

to engage, use, or employ its practice of marketing and advertising the Products to relieve sinus

congestion when they do not. Plaintiffs and the members of the Class also seek an order requiring

Defendants to disclose such information and/or precluding Defendants from selling the Products.

       120.     Causation/Restitution. As a direct and proximate result of Defendants’

misconduct in violation of the UCL, Plaintiffs and the Class were harmed in the amount of the

purchase price they paid for the Products. Plaintiffs and the Class have suffered and continue to

suffer economic losses and other damages including, but not limited to, the amounts paid for the

Products, and any interest that would have accrued on those monies, in an amount to be proven at

trial. Accordingly, Plaintiffs seek restitution, and/or disgorgement of ill-gotten gains to

compensate Plaintiffs and the Class for said monies, as well as injunctive relief to enjoin

Defendants’ misconduct to prevent ongoing and future harm that will result.

                                        “Unfair” Prong

       121.     Unfair Standard. Under the UCL, a challenged activity is “unfair” when “any

injury it causes outweighs any benefits provided to consumers and the injury is one that the

consumers themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California,

142 Cal. App. 4th 1394, 1403 (2006).

       122.     Injury. Defendants’ false marketing and advertising of the Products with the

Challenged Representations does not confer any benefit to consumers; rather, doing so causes

injuries to consumers, who do not receive Products commensurate with their reasonable

expectations, and receive a Product of lesser standards than what they reasonably expected to

receive. Consumers cannot avoid any of the injuries caused by Defendants’ deceptive marketing


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and advertising of the Products. The injuries caused by Defendant’s deceptive marketing and

advertising outweigh any benefits.

         123.   Balancing Test. Some courts conduct a balancing test to decide if a challenged

activity amounts to unfair conduct under California Business and Professions Code Section 17200.

They “weigh the utility of the defendant’s conduct against the gravity of the harm to the alleged

victim.” Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

         124.   No Utility. Under this test, Defendants’ conduct of falsely marketing and

advertising the Products as effective nasal decongestants have no utility and rather, harms

purchasers. Thus, the utility of Defendant’s conduct is substantially outweighed by the gravity of

harm.

         125.   Legislative Declared Policy. Some courts require that “unfairness must be

tethered to some legislative declared policy or proof of some actual or threatened impact on

competition.” Lozano v. AT&T Wireless Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

         126.   Unfair Conduct. Defendants’ marketing and advertising of the Products, as

alleged herein, is deceptive, misleading, and unreasonable, and constitutes unfair conduct.

Defendants knew or should have known of its unfair conduct. Defendants’ representations

constitute an unfair business practice within the meaning of California Business and Professions

Code Section 17200.

         127.   Reasonably Available Alternatives. Defendants had reasonably available

alternatives to further its legitimate business interests, other than the conduct described herein.

Defendants could have refrained from selling the Products.

         128.   Defendant’s Wrongful Conduct. All the conduct alleged herein occurs and

continues to occur in Defendants’ business. Defendants’ wrongful conduct is part of a pattern or

generalized course of conduct repeated on thousands of occasions daily.

         129.   Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiffs

and the Class seek an order of this Court enjoining Defendants from continuing to engage, use, or

employ its practice of marketing and advertising the Products as nasal decongestants.


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       130.      Causation/Restitution. Plaintiffs and the Class have suffered injury in fact, have

lost money, as a result of Defendants’ unfair conduct. Plaintiffs and the Class paid for a Product

that could supposedly help nasal decongestion when it cannot. Plaintiffs and the Class would not

have purchased the Products if they had known that the Products’ advertising and marketing were

deceptive. Accordingly, Plaintiffs seek restitution and/or disgorgement of ill-gotten gains pursuant

to the UCL.

                                       “Fraudulent” Prong

       131.      Fraud Standard. The UCL considers conduct fraudulent (and prohibits said

conduct) if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal.

4th 1254, 1267 (1992).
       132.      Fraudulent & Material Challenged Representations. Defendants marketed and

advertised the Products as nasal decongestants. These representations were deceptive, and

Defendants knew or should have known of its deception. The representations are likely to mislead

consumers into purchasing the Products because they are material to the average, ordinary, and

reasonable consumer.

       133.      Fraudulent Business Practice. As alleged herein, the representations by

Defendants constitute a fraudulent business practice in violation of California Business &

Professions Code Section 17200.

       134.      Reasonable and Detrimental Reliance. Plaintiffs and the Class reasonably and

detrimentally relied on the marketing and advertising on the Products to their detriment in that they

purchased the Products without receiving the advertised benefits.

       135.      Reasonably Available Alternatives. Defendants had reasonably available

alternatives to further its legitimate business interests, other than the conduct described herein.

Defendants could have refrained from selling the Products.

       136.      Business Practice. All the conduct alleged herein occurs and continues to occur

in Defendants’ business. Defendants’ wrongful conduct is part of a pattern or generalized course

of conduct.


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       137.     Injunction. Pursuant to Business and Professions Code Sections 17203, Plaintiffs

and the Class seek an order of this Court enjoining Defendants from continuing to engage, use, or

employ its practice of marketing and advertising the Products as nasal decongestants..

       138.     Causation/Restitution. Plaintiffs and the Class have suffered injury in fact and

have lost money due to Defendant’s fraudulent conduct. Plaintiffs and the Class paid for a product

that they believed would help with nasal decongestion.

       139.     Plaintiffs and the Class would not have purchased the Products if they had known

the truth. Accordingly, Plaintiff seeks restitution and/or disgorgement of ill-gotten gains pursuant

to the UCL.

                                        “Unlawful” Prong

       140.     Unlawful Standard. The UCL identifies violations of other laws as “unlawful

practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC

Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).

       141.     Violations of CLRA and FAL. Defendants’ marketing and advertising of the

Products, as alleged herein, violates California Civil Code sections 1750, et seq. and California

Business and Professions Code sections 17500, et seq. as set forth below in the sections regarding

those causes of action.

       142.     Additional Violations. Defendants’ conduct in making the deceptive

representations described herein constitutes a knowing failure to adopt policies in accordance with

and/or adherence to applicable laws, as set forth herein, all of which are binding upon and

burdensome to their competitors. This conduct engenders an unfair competitive advantage for

Defendants, thereby constituting an unfair, fraudulent and/or unlawful business practice under

California Business & Professions Code sections 17200-17208. Additionally, Defendants’

representations of material facts, as set forth herein, violate California Civil Code sections 1572,

1573, 1709, 1710, and 1711, as well as the common law.




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       143.      Unlawful Conduct. Defendants’ marketing and advertising of the Products, as

alleged herein, is deceptive, misleading, and unreasonable, and constitutes unlawful conduct.

Defendant knew or should have known of its unlawful conduct.

       144.      Reasonably Available Alternatives. Defendants had reasonably available

alternatives to further its legitimate business interests, other than the conduct described herein.

Defendants could have refrained from selling the Products.

       145.      Business Practice. All the conduct alleged herein occurs and continues to occur

in Defendants’ business. Defendants’ wrongful conduct is part of a pattern or generalized course

of conduct.

       146.      Injunction. Pursuant to Business and Professions Code Section 17203, Plaintiffs

and the Class seek an order from this Court enjoining Defendants from continuing to engage, use,

or employ its practice of marketing and advertising the Products as nasal decongestants.

       147.      Causation/Restitution. Plaintiffs and the Class have suffered injury in fact and

have lost money as a result of Defendants’ unlawful conduct. Plaintiff and the Class paid an

unwarranted premium for the Products. Plaintiffs and the Class would not have purchased the

Products if they had known that Defendants purposely deceived consumers into believing that the

Products could provide the advertised benefits. Accordingly, Plaintiffs seek restitution and/or

disgorgement of ill-gotten gains pursuant to the UCL.

                                         COUNT FOUR

                                  Breach of Express Warranty

                      (On Behalf of all Plaintiffs against All Defendants)

       148.      Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all

allegations contained in this complaint, as though fully set forth herein.

       149.      Plaintiffs brings this claim individually and on behalf of the Class who purchased

the Products within the applicable statute of limitations.

       150.      Implied Warranty of Merchantability. By advertising and selling the Products

at issue, Defendants, merchants of goods, made promises and affirmations of fact that the Products


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are merchantable and conform to the promises or affirmations of fact made through its marketing

and advertising, as described herein. This marketing and advertising, combined with the implied

warranty of merchantability, constitute warranties that became part of the basis of the bargain

between Plaintiffs and members of the Class and Defendants—to wit, that the Products, among

other things, could provide the advertised benefits.

       151.      Breach of Warranty. Contrary to Defendants’ warranties, the Products do not

conform to the Products’ representation that medicine provides nasal relief and decongestion, and,

therefore, Defendants breached their warranties about the Products and their qualities.

       152.      Causation/Remedies. As a direct and proximate result of Defendants’ breach of

warranty, Plaintiffs and members of the Class were harmed in the amount of the purchase price

they paid for the Products. Further, Plaintiffs and members of the Class have suffered and continue

to suffer economic losses and other damages including, but not limited to, the amounts paid for

the Products, and any interest that would have accrued on those monies, in an amount to be proven

at trial. Accordingly, Plaintiffs seek a monetary award for breach of warranty in the form of

damages, restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the Class

for said monies, as well as injunctive relief to enjoin Defendants’ misconduct to prevent ongoing

and future harm that will result.

                                         COUNT FIVE

                                Unjust Enrichment/Restitution

                      (On Behalf of All Plaintiffs against All Defendants)

       153.      Incorporation by Reference. Plaintiffs re-allege and incorporate by reference all

allegations contained in this complaint, as though fully set forth herein.

       154.      Plaintiffs bring this claim individually and on behalf of members of the Class who

purchased the Products within the applicable statute of limitations.

       155.      Plaintiff/Class Conferred a Benefit. By purchasing the Products, Plaintiffs and

members of the Class conferred a benefit on Defendants in the form of the purchase price of the

Products.


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          156.   Defendant’s Knowledge of Conferred Benefit. Defendants had knowledge of

such benefit and Defendants appreciated the benefit because, were consumers not to purchase the

Products, Defendants would not generate revenue from the sales of the Products.

          157.   Defendant’s Unjust Receipt Through Deception. Defendants’ knowing

acceptance and retention of the benefit is inequitable and unjust because the benefit was obtained

by Defendants’ fraudulent, misleading, and deceptive representations.

          158.   Causation/Restitution. As a direct and proximate result of Defendants’ unjust

enrichment, Plaintiffs and members of the Class were harmed in the amount of the purchase price

they paid for the Products. Further, Plaintiffs and members of the Class have suffered and continue

to suffer economic losses and other damages including, but not limited to, the amounts paid for

the Products, and any interest that would have accrued on those monies, in an amount to be proven

at trial. Accordingly, Plaintiffs seek a monetary award for unjust enrichment in damages,

restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the Class for said

monies, as well as injunctive relief to enjoin Defendants’ misconduct to prevent ongoing and future

harm that will result.

                                           COUNT SIX

                         Violation of the New Jersey Consumer Fraud Act

                                     (N.J.S.A 56:8-1, et seq.)

                               (On Behalf of the New Jersey Class)

          159.   Incorporation by Reference. Plaintiff Marcel Perez Pirio re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth

herein.

          160.   New Jersey Class. Plaintiff Pirio brings this claim on behalf of himself and the

New Jersey Class against all Defendants.

          161.   Merchandise. At all relevant times, the Products at issue constituted

“merchandise” as defined by N.J.S.A 56:8-1(e).

          162.   Sale. At all relevant times, Defendants’ sales and/or distribution of the


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Decongestant Products at issue met the definition of “sale” set forth by N.J.S.A. 56:8-1(e).

       163.      New Jersey Standard. 67. N.J.S.A. 56:8-2 provides that “[t]he act, use or

employment by any person of any unconscionable practice, deception, fraud, false pretense, false

promise, misrepresentation, or the knowing, concealment, suppression, or omission of material

fact with the intent that others rely upon such concealment, suppression or omission, ... is declared

to be an unlawful practice...”

       164.      Knowledge. Defendants’ uniform material representation of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

       165.      As alleged herein, Defendants sold the Products to Plaintiff and each other Class

Member as products that provide relief for nasal congestion. Yet Defendants knew that

phenylephrine is ineffective.

       166.      Defendants therefore engaged in practices that are unconscionable, deceptive, and

fraudulent and that are based on false pretenses and the knowing concealment, suppression, or

omission of material fact with the intent that others rely upon such concealment, suppression or

omission in their manufacturing, selling, and distribution of their Products. Defendants therefore

violated the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq.

       167.      Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

improper conduct, Plaintiffs and the other members of the Class have suffered damages and

ascertainable losses of moneys, by paying more for Products than they would have, and/or by

purchasing Products that they would not have purchased, in amounts to be determined at trial.

                                         COUNT SEVEN

                 Violation of Louisiana Fraudulent Misrepresentation Law

                           (LA Civ. Code Tit. IV, Art. 1953, et seq.)

                                 (On Behalf of the Louisiana Class)

       168.      Incorporation by Reference. Plaintiff Amy Weinberg re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth


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herein.

          169.   Louisiana Class. Plaintiff Weinberg brings this claim on behalf of herself and the

Louisiana Class against all Defendants.

          170.   Louisiana Fraud Standard. LA Civ. Code Art. 1953 provides that fraud is “a

misrepresentation or a suppression of the truth with the intention either to obtain an unjust

advantage for one party or to cause a loss or inconvenience to the other. Fraud may also result

from silence or inaction.”

          171.   Misrepresentation. Defendants misrepresented the effectiveness of the Products

in their marketing and advertising to induce Plaintiff and the Louisiana Class to purchase the

Products.

          172.   Omission. Defendants were silent on, and did not take action to correct, their

material misrepresentation that the Products were effective nasal decongestants.

          173.   Knowledge. Defendants knew or should have known the Products contained a

material misrepresentation regarding their effectiveness as a nasal decongestant based on scientific

investigation and regulatory action.

          174.   Lack of Personal Knowledge and Expertise. Plaintiff and Louisiana Class

members are not personally familiar with, and do not possess any specialized knowledge skill,

experience, or education, in the manufacture of OTC medication.           Therefore, Plaintiff and

Louisiana Class members have no way of determining whether Defendants’ Products can provide

decongestive relief and were justified in their reliance on Defendants’ misrepresentation.

          175.   Unfair Advantage. As a result of Defendants’ misrepresentations on the

effectiveness of the Products, their knowledge of those misrepresentations, and Plaintiff and

Louisiana Class members’ reliance on Defendant, Defendants obtained an unfair advantage.

          176.   Causation/Reliance/Materiality. As a direct and proximate result of

Defendants’ improper conduct, Plaintiffs and the other members of the Class have suffered

damages and ascertainable losses of moneys, by paying more for Products than they would have,




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and/or by purchasing Products that they would not have purchased, in amounts to be determined

at trial.

                                          COUNT EIGHT

          Violation of Louisiana Unfair Trade Practices and Consumer Protection Law

                                  (Stat. Ann. §§ 51-1401, et seq.)

                                (On Behalf of the Louisiana Class)

            177.   Incorporation by Reference. Plaintiff Amy Weinberg re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth

herein.

            178.   Louisiana Class. Plaintiff Weinberg brings this claim on behalf of herself and the

Louisiana Class against all Defendants.

            179.   Jurisdiction. Defendants do business in Louisiana, sells and distributes the

Products in Louisiana, and engaged in deceptive acts and practices in their manufacturing, selling,

and marketing of the Products in Louisiana.

            180.   Louisiana Standard. Plaintiff and the Class are “consumers” within the meaning

of LA. Rev. Stat. §51:1402(1).

            181.   Defendants engaged in “trade” or “commerce” within the meaning of La. Rev.

Stat. § 51:1402(9).

            182.   The Louisiana Unfair Trade and Practices and Consumer Protection Law

(“Louisiana CPL”) makes unlawful “deceptive acts or practices in the conduct of any trade or

commerce.” La. Rev. Stat. § 51:1405(A).

            183.   Deceptive Act or Practice. Defendants’, as alleged above, have in the course of

trade and commerce, knowingly engaged in false, misleading, and deceptive acts and practices

declared unlawful under La. Rev. Stat. § 51:1405(A) as follows: by falsely representing that their

Products provide relief for nasal congestion; by failing to disclose that phenylephrine contained in

their Products does not provide relief for nasal congestion despite knowing about this fact.

            184.   Defendants’ uniform material representation of the Products were likely to


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deceive reasonable consumers seeking congestion relief and Defendants knew that its

representations were untrue or misleading. Defendants intended that Plaintiff and the Louisiana

Class rely on the misleading representations in their making their purchase decision.

       185.        As alleged herein, Defendants sold the Products to Plaintiff and each other

Louisiana Class member as products that provide relief for nasal congestion. Yet Defendants knew

that phenylephrine is ineffective.

       186.        Knowledge. Defendants’ uniform material representation of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

       187.        Course of Commerce. Defendants deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

       188.        Defendants therefore engaged in unfair methods of competition and unfair or

deceptive acts or practices with intent that others rely upon the concealment, suppression or

omission of such material fact in their manufacturing, selling, and marketing the Products.

Defendants therefore violated Louisiana CPL.

       189.        Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

improper conduct, Plaintiffs and the other members of the Class have suffered damages and

ascertainable losses of moneys, by paying more for Products than they would have, and/or by

purchasing Decongestant Products that they would not have purchased, in amounts to be

determined at trial.

       190.        Pursuant to La. Rev. Stat. § 51:1409, Plaintiff and the Class seek to recover actual

damages in an amount to be determined at trial; treble damages for Defendants knowing violations

of the Louisiana CPL; an order enjoining Defendants unfair, unlawful, and/or deceptive practices;

declaratory relief; attorneys’ fees; and any other just and proper relief available under La. Rev.

Stat. § 51:1409.




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                                          COUNT NINE

      Violation of the Texas Deceptive Trade Practices and Consumer Protection Act

                             (Tex. Bus. & Com. Code § 17.41, et seq)

                                  (On Behalf of the Texas Class)

       191.       Incorporation by Reference. Plaintiff Robert Lundin re-alleges and incorporates

by reference all allegations contained in this complaint, as though fully set forth herein.

       192.       Texas Class. Plaintiff Lundin brings this claim on behalf of himself and the Texas

Class against all Defendants.

       193.       Jurisdiction. Defendants do business in Texas, sells and distributes the Products

in Texas, and engaged in deceptive acts and practices in their manufacturing, selling, and

marketing of the Products in Texas.

       194.       Texas Standard. Tex. Bus. & Com. Code § 17.46 (a) prohibits “false, misleading,

or deceptive acts or practices in the conduct of any trade or commerce." Pursuant to Tex. Bus. &

Com. Code § 17.46 (b), the term “false, misleading, or deceptive acts or practices” include, inter

alia, the following:

              a. Representing that goods or services have sponsorship, approval, characteristics,

                 ingredients, uses, benefits, or quantities which they do not have;

              b. Representing that goods or services are of a particular standard, quality, or grade;

              c. Failing to disclose information concerning goods or services which was known at

                 the time of the transaction if such failure to disclose such information was intended

                 to induce the consumer into a transaction into which the consumer would not have

                 entered had the information been disclosed;

       195.       Deceptive Act or Practice. Defendants’, as alleged above, have in the course of

trade and commerce, knowingly engaged in false, misleading, and deceptive acts and practices

declared unlawful under Tex. Bus. & Com. Code § 17.46 as follows: by falsely representing that

their Products provide relief for nasal congestion; by failing to disclose that phenylephrine




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contained in their Products does not provide relief for nasal congestion despite knowing about this

fact.

         196.     Defendants’ uniform material representation of the Products were likely to

deceive reasonable consumers seeking congestion relief and Defendants knew that its

representations were untrue or misleading. Defendants intended that Plaintiff and the Texas Class

rely on the misleading representations in their making their purchase decision.

         197.    As alleged herein, Defendants sold the Products to Plaintiff and each other Texas

Class member as products that provide relief for nasal congestion. Yet Defendants knew that

phenylephrine is ineffective.

         198.    Knowledge. Defendants’ uniform material representation of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

         199.    Course of Commerce. Defendants’ deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

         200.    Defendants therefore engaged in unfair methods of competition and unfair or

deceptive acts or practices with intent that others rely upon the concealment, suppression or

omission of such material fact in their manufacturing, selling, and marketing the Products.

Defendants therefore violated Texas Deceptive Trade Practices and Consumer Protection Act, Tex.

Bus. & Com. Code § 17.41, et seq.

         201.    Injunction. Given that Defendants’ conduct violated Tex. Bus. & Com. Code §

17.41, et seq, Plaintiff and members of the Class are entitled to seek, and do hereby seek, injunctive

relief to put an end to Defendant’s violations of the Tex. Bus. & Com. Code § 17.41, et seq.

Plaintiff and members of the Class have no adequate remedy at law. Without equitable relief,

Defendants’ unfair and deceptive practices will continue to harm Plaintiffs and the Class.




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                                         COUNT TEN

                  Violation of the Connecticut Unfair Trade Practices Act

                           (Conn. Gen. Stat. Ann. § 42-110a, et seq)

                             (On Behalf of the Connecticut Class)

          202.   Incorporation by Reference. Plaintiff Jaedon Daniels re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth

herein.

          203.   Connecticut Class. Plaintiff Daniels brings this claim on behalf of himself and

the Connecticut Class against all Defendants.

          204.   Jurisdiction. Defendants do business in Connecticut, sells and distributes the

Products in Connecticut, and engaged in deceptive acts and practices in their manufacturing,

selling, and marketing of the Products in Connecticut.

          205.   Defendants, Plaintiffs, and the Class members are “[p]ersons” within the meaning

of Conn. Gen. Stat. Ann. § 42-110a(4).

          206.   Connecticut Standard. The Connecticut Unfair Trade Practices Act

(“Connecticut UTPA”) prohibits “unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” Conn. Gen. Stat. Ann. §42-110b(a).

          207.   Deceptive Act or Practice. Defendants’, as alleged above, have in the course of

trade and commerce, knowingly engaged in false, misleading, and deceptive acts and practices

declared unlawful under Connecticut UTPA as follows: by falsely representing that their Products

provide relief for nasal congestion; by failing to disclose that phenylephrine contained in their

Products does not provide relief for nasal congestion despite knowing about this fact.

          208.    Defendants’ uniform material representation of the Products were likely to

deceive reasonable consumers seeking congestion relief and Defendants knew that its

representations were untrue or misleading. Defendants intended that Plaintiff and the Connecticut

Class rely on the misleading representations in their making their purchase decision.




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       209.      As alleged herein, Defendants sold the Products to Plaintiff and each other

Connecticut Class member as products that provide relief for nasal congestion. Yet Defendants

knew that phenylephrine is ineffective.

       210.      Knowledge. Defendants’ uniform material representation of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

       211.      Course of Commerce. Defendants’ deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

       212.      Defendants therefore engaged in unfair methods of competition and unfair or

deceptive acts or practices with intent that others rely upon the concealment, suppression or

omission of such material fact in their manufacturing, selling, and marketing the Products.

Defendants therefore violated Connecticut UTPA.

       213.      Causation/Reliance/Materiality. As a direct and proximate result of

Defendants’ improper conduct, Plaintiffs and the other members of the Class have suffered

damages and ascertainable losses of moneys, by paying more for Products than they would have,

and/or by purchasing Decongestant Products that they would not have purchased, in amounts to

be determined at trial.

       214.      Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Connecticut UTPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts as set forth above.

       215.      Specifically, Plaintiff and the Class members were deceived by Defendants’

misrepresentations, omissions, concealments, and failures to disclose material facts regarding their

Products. Had Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs

and the Class members would not have purchased the drug, and, thus, they did not receive the

benefit of the bargain and/or suffered out-of-pocket loss.


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          216.   Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

          217.   As a result of Defendants’ violations of the Connecticut UTPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Connecticut UTPA.

                                         COUNT ELEVEN
                      Violation of the Virginia Consumer Protection Act

                                     (Va. Code Ann. § 59.1-196)

                                 (On Behalf of the Virginia Class)

          218.   Incorporation by Reference. Plaintiff Michael Wyllon re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth

herein.

          219.   Virginia Class. Plaintiff Wyllon brings this claim on behalf of himself and the

Virginia Class against all Defendants.

          220.   Jurisdiction. Defendants do business in Virginia, sell and distribute the Products

in Virginia, and are engaged in deceptive acts and practices in their manufacturing, selling, and

marketing of the Products in Virginia.

          221.   Each Defendant is a “supplier” under Va. Code Ann. § 59.1-198.

          222.   The sale of the Products that falsely state that they provide relief for nasal

congestion to Class members was a “consumer transaction” within the meaning of Va. Code Ann.

§ 59.1-198.

          223.   Virginia Standard. The Virginia Consumer Protection Act (“Virginia CPA”)

lists prohibited “practices” which include: “5. Misrepresenting that goods or services have certain

characteristics;” “6. Misrepresenting that goods or services are of a particular standard, quality,




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grade style, or model;” and “14. Using any other deception, fraud, or misrepresentation in

connection with a consumer transaction.” Va. Code Ann. § 59.1-200

       224.     Deceptive Act or Practice. Defendants, as alleged above, have in the course of

trade and commerce, knowingly engaged in false, misleading, and deceptive acts and practices

declared unlawful under Virginia CPA as follows: by falsely representing that their Products

provide relief for nasal congestion; by failing to disclose that phenylephrine contained in their

Products does not provide relief for nasal congestion despite knowing about this fact.

       225.      Defendants’ uniform material representations of the Products were likely to

deceive reasonable consumers seeking congestion relief and Defendants knew that its

representations were untrue or misleading. Defendants intended that Plaintiff and the Connecticut

Class rely on the misleading representations in their making their purchase decision.

       226.     As alleged herein, Defendants sold the Products to Plaintiff and each other

Connecticut Class member as products that provide relief for nasal congestion. Yet Defendants

knew that phenylephrine is ineffective.

       227.     Knowledge. Defendants’ uniform material representations of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

       228.     Course of Commerce. Defendants’ deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

       229.     Defendants therefore engaged in unfair methods of competition and unfair or

deceptive acts or practices with intent that others rely upon the concealment, suppression or

omission of such material fact in their manufacturing, selling, and marketing the Products.

Defendants therefore violated Virginia CPA.

       230.     Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

improper conduct, Plaintiffs and the other members of the Class have suffered damages and

ascertainable losses of moneys, by paying more for Products than they would have, and/or by


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purchasing Decongestant Products that they would not have purchased, in amounts to be

determined at trial.

        231.        Plaintiffs and the Class members were aggrieved by Defendants’ violations of the

Virginia CPA because they suffered ascertainable loss and actual damages as a direct and

proximate result of Defendants’ knowing and intentional misrepresentations, omissions,

concealments, and failures to disclose material facts as set forth above.

        232.        Specifically, Plaintiff and the Class members were deceived by Defendants’

misrepresentations, omissions, concealments, and failures to disclose material facts regarding their

Products. Had Defendants not engaged in the deceptive acts and practices alleged herein, Plaintiffs

and the Class members would not have purchased the drug, and, thus, they did not receive the

benefit of the bargain and/or suffered out-of-pocket loss.

        233.        Defendants’ violations present a continuing risk to Plaintiffs and the Class

members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

        234.        As a result of Defendants’ violations of the Virginia CPA, as alleged herein,

Plaintiffs and the Class members seek an order enjoining Defendants’ unfair or deceptive acts or

practices and awarding actual damages, costs, attorneys’ fees, and any other just and proper relief

available under the Virginia CPA.

                                         COUNT TWELVE

                           Violation of New York General Business Law

                                       (GBL 349, 350, et seq)

                                 (On Behalf of the New York Class)

        235.        Incorporation by Reference. Plaintiffs Dimitri Lamdon and Tatyana Dekhtyar

re-allege and incorporate by reference all allegations contained in this complaint, as though fully

set forth herein.

        236.        New York Class. Plaintiffs Lamdon and Dekhtyar bring this claim on behalf of

themselves and the New York Class against all Defendants.


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       237.     Jurisdiction. Defendants do business in New York, sell and distribute the

Products in New York, and engaged in deceptive acts and practices in their manufacturing, selling,

and marketing of the Products in New York.

       238.     GBL § 349 Standard. NY GBL 349, et seq provides “deceptive acts or practices

in the conduct of any business, trade or commerce… are hereby declared unlawful."

       239.     Deceptive Act or Practice. Defendants’ uniform material representations of the

Products were likely to deceive reasonable consumers seeking congestion relief and Defendants

knew that its representations were untrue or misleading. Defendants intended that Plaintiffs and

the New York Class rely on the misleading representations in their making their purchase decision.

       240.     As alleged herein, Defendants sold the Products to Plaintiffs and each New York

Class member as products that provide relief for nasal congestion. Yet Defendants knew that

phenylephrine is ineffective.

       241.     Knowledge. Defendants’ uniform material representations of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue or misleading.

       242.     Course of Commerce. Defendants’ deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

       243.     Defendants therefore engaged in unfair methods of competition and unfair or

deceptive acts or practices with intent that others rely upon the concealment, suppression, or

omission of such material fact in their manufacturing, selling, and marketing the Products.

Defendants therefore violated the New York General Business Law 349, et seq.

       244.     Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

improper conduct, Plaintiffs and the other members of the Class have suffered damages and

ascertainable losses of moneys, by paying more for Products than they would have, and/or by

purchasing Products that they would not have purchased, in amounts to be determined at trial,

pursuant to NY GBL 349(b) and 350(d).


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                                      COUNT THIRTEEN

         Violation of the North Carolina Unfair and Deceptive Trade Practices Act

                                     (NC Gen. Stat. 75-1.1)

                            (On Behalf of the North Carolina Class)

       245.      Incorporation by Reference. Plaintiff Layne Barter re-alleges and incorporates

by reference all allegations contained in this complaint, as though fully set forth herein.

       246.      North Carolina Class. Plaintiff Barter brings this claim on behalf of herself and

the North Carolina Class against all Defendants.

       247.      Jurisdiction. Defendants do business in North Carolina, sell and distribute the

Products in North Carolina, and engage in deceptive acts and practices in their manufacturing,

selling, and marketing of the Products in North Carolina.
       248.      North Carolina Standard. NC Gen. Stat. § 75-1.1, et seq prohibits “unfair or

deceptive acts or practices in or affecting commerce.” An act is unfair or deceptive when that act

“possessed the tendency or capacity to mislead, or created the likelihood of deception.” See, Boyd

v. Drum, 129 N.C. App. 586, 593, 501 S.E.2d 91, 97 (1998).

       249.      Deceptive Act and Misrepresentation. Defendants’ uniform material

representation of the Products were likely to deceive reasonable consumers seeking congestion

relief and Defendants knew or should have known that their representations were untrue and

misleading. Defendants intended, or reasonably should have known, that Plaintiff and the North

Carolina Class rely on the misleading representations in making their purchase decision.

       250.      As alleged herein, Defendants sold the Products to Plaintiff and each other North

Carolina member as products that provide relief for nasal congestion. Yet Defendants knew that

phenylephrine is ineffective. Therefore, the Products possessed the tendency to mislead.

       251.      Knowledge. Defendants’ uniform material representations of the Products were

likely to deceive reasonable consumers seeking congestion relief and Defendants knew or should

have known that its representations were untrue and misleading.

       252.      Defendants knew or should have known the Products contained a material


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misrepresentation regarding their effectiveness as a nasal decongestant based on scientific

investigation and regulatory action.

          253.   Course of Commerce. Defendants’ deceptions occurred, at all relevant times, in

a course of conduct involving trade and commerce, as they occurred during the manufacturing,

selling, and marketing of the Products.

          254.   Defendants therefore engaged in deceptive acts or practices with intent that others

rely upon the false representation that the Products have a “use,” “characteristic,” or “benefit in

their manufacturing, selling, and marketing the Products. Defendants therefore violated the North

Carolina Unfair and Deceptive Trade Practices Act.

          255.   Reliance. Plaintiff and North Carolina Class members are not personally familiar

with, and do not possess any specialized knowledge skill, experience, or education, in the

manufacture of OTC medication. Therefore, Plaintiff and North Carolina Class members have no

way of determining whether Defendants’ Products can provide decongestive relief and must rely

on Defendants’ deceptive misrepresentations.

          256.   Causation/Materiality. As a direct and proximate result of Defendants' improper

conduct, Plaintiffs and the other members of the Class have suffered damages and ascertainable

losses of moneys, by paying more for Products than they would have, and/or by purchasing

Products that they would not have purchased, in amounts to be determined at trial.

                                       COUNT FOURTEEN

                    Violation of the Maryland Consumer Protection Act

                                 (MD Code CL 13-301, et seq)

                               (On Behalf of the Maryland Class)

          257.   Incorporation by Reference. Plaintiff Lorette Kenney re-alleges and

incorporates by reference all allegations contained in this complaint, as though fully set forth

herein.

          258.   Maryland Class. Ms. Kenney brings this claim on behalf of herself and the

Maryland Class against all Defendants.


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       259.      Jurisdiction. Defendants do business in Maryland, sell and distribute the

Products in Maryland, and are engaged in deceptive acts and practices in their manufacturing,

selling, and marketing of the Products in Maryland.

       260.      Maryland Standard. MD Code CL 13-301 prohibits unfair, abusive, or deceptive

trade practices. MD Code CL 13-301 defines such trade practice as “false, falsely disparaging, or

misleading oral or written statement, visual description, or other representation of any kind which

has the capacity, tendency, or effect of deceiving or misleading consumers." MD Code CL 13-

301(2)(i) further provides that a representation that “consumer goods, consumer realty, or

consumer services have a sponsorship, approval, accessory, characteristic, ingredient, use, benefit,

or quantity which they do not have,” is unfair, abusive, or deceptive.

       261.      Deceptive Trade Practices. Defendants’ uniform material representations of the

Products were likely to deceive reasonable consumers seeking congestion relief and Defendants

knew that its representations were untrue or misleading. Defendants intended that Plaintiff and the

Maryland Class rely on the misleading representations in their making their purchase decision.

       262.      As alleged herein, Defendants sold the Products to Plaintiff and each other

Maryland Class member as products that provide relief for nasal congestion. Yet Defendants knew

that phenylephrine is ineffective.

       263.      Therefore, Defendants advertised the Products as having characteristics, uses, and

benefits which they did not have.

       264.      Knowledge. Defendants knew or showed such reckless indifference to the truth

as to impute knowledge to them, that the Products contain a material misrepresentation regarding

their effectiveness as a nasal decongestant based on scientific investigation and regulatory action.

       265.      Capacity to Mislead. Plaintiff and the Maryland Class members are not

personally familiar with, and do not possess any specialized knowledge skill, experience, or

education, in the manufacture of OTC medication. Plaintiff and the Maryland Class members have

no way to determine whether Defendants’ Products can provide decongestive relief and were

therefore justified in their reliance on Defendants’ misrepresentation.


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       266.      Defendants engaged in unfair, abusive, and deceptive trade practices by

misrepresenting the characteristics, uses, and benefits of the Products. Defendants did so with

knowledge that these misrepresentations were likely to mislead reasonable consumers. Defendants

therefore violated the Maryland Consumer Protection Act, MD Code CL 13-301.

       267.      Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

improper conduct, Plaintiffs and the other members of the Class have suffered damages and

ascertainable losses of moneys, by paying more for Products than they would have, and/or by

purchasing Decongestant Products that they would not have purchased, in amounts to be

determined at trial.

                                       COUNT FIFTEEN

      Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act

                                    (815 ILCS 505/1, et seq)

                                (On Behalf of the Illinois Class)

       268.      Incorporation by Reference. Plaintiffs Olivia Rodesta and Lauren Debeliso re-

   allege and incorporate by reference all allegations contained in this complaint, as though fully

   set forth herein.

       269.      Illinois Class. Plaintiffs Rodesta and Debeliso bring this claim on behalf of

   themselves and the Illinois Class against all Defendants.

       270.      Jurisdiction. Defendants do business in Illinois, sell and distributes the Products

   in Illinois, and engage in deceptive acts and practices in their manufacturing, selling, and

   marketing of the Products in Illinois.

       271.      Consumer Goods. The Products purchased by the Plaintiffs and Illinois Class

   were “consumer items” as defined by the Illinois Consumer Fraud Act.

       272.      Illinois Standard. 815 ILCS 505/1, et seq prohibits “unfair methods of

   competition and unfair or deceptive acts or practices, including but not limited to the use or

   employment of any deception, fraud, false pretense, false promise, misrepresentation or the

   concealment, suppression or omission of any material fact, with intent that others rely upon the


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   concealment, suppression or omission of such material fact or the use or employment of any

   practice described in Section 2 of the ‘Uniform Deceptive Trade Practices Act’ . . . ."

       273.     Deceptive Act or Practice. Defendants’ uniform material representation of the

   Products were likely to deceive reasonable consumers seeking congestion relief and Defendants

   knew that its representations were untrue or misleading. Defendants intended that Plaintiff and

   the Illinois Class rely on the misleading representations in their making their purchase decision.

       274.     As alleged herein, Defendants sold the Products to Plaintiffs and each other

   Illinois Class member as products that provide relief for nasal congestion. Yet Defendants knew

   that phenylephrine is ineffective.

       275.     Knowledge. Defendants’ uniform material representation of the Products were

   likely to deceive reasonable consumers seeking congestion relief and Defendants knew or

   should have known that its representations were untrue or misleading.

       276.     Course of Commerce. Defendants deceptions occurred, at all relevant times, in

   a course of conduct involving trade and commerce, as they occurred during the manufacturing,

   selling, and marketing of the Products.

       277.     Defendants therefore engaged in unfair methods of competition and unfair or

   deceptive acts or practices with intent that others rely upon the concealment, suppression or

   omission of such material fact in their manufacturing, selling, and marketing the Products.

   Defendants therefore violated the Illinois Consumer Fraud and Deceptive Practices Act, 815

   ILCS 505/1, et seq.

       278.     Causation/Reliance/Materiality. As a direct and proximate result of Defendants'

   improper conduct, Plaintiffs and the other members of the Class have suffered damages and

   ascertainable losses of moneys, by paying more for Products than they would have, and/or by

   purchasing Products that they would not have purchased, in amounts to be determined at trial.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

pray for judgment and relief on all causes of action as follows:


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        a.      Certification: For an order certifying this action as a class action,
                appointing Plaintiffs as the Class Representatives of their respective state’s
                Classes, and appointing Plaintiffs’ Counsel as Class Counsel;

        b.      Declaratory Relief: For an order declaring that Defendants’ conduct
                violates the statutes and laws referenced herein;

        c.      Injunction: For an order requiring Defendants to immediately cease and
                desist from selling the unlawful Products in violation of law; enjoining
                Defendants from continuing to market, advertise, distribute, and sell the
                Products in the unlawful manner described herein; requiring Defendants to
                engage in an affirmative advertising campaign to dispel the public
                misperception of the Products resulting from Defendants’ unlawful
                conduct; and requiring all further and just corrective action, consistent with
                permissible law and pursuant to only those causes of action so permitted;

        d.      Damages/Restitution/Disgorgement: For an order awarding monetary
                compensation in the form of damages, restitution, and/or disgorgement to
                Plaintiffs and the Class, consistent with permissible law and pursuant to
                only those causes of action so permitted;

        e.      Attorneys’ Fees & Costs: For an order awarding attorneys’ fees and costs,
                consistent with permissible law and pursuant to only those causes of action
                so permitted;

        f.      Pre-/Post-Judgment Interest: For an order awarding pre-judgment and
                post-judgment interest, consistent with permissible law and pursuant to only
                those causes of action so permitted; and,

        g.      All Just & Proper Relief: For such other and further relief as the Court
                deems just and proper.


                          DEMAND FOR JURY TRIAL

 Plaintiffs hereby demand a jury trial on all issues and causes of action so triable.




                        [Signatures to Follow on Next Page]




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DATED: October 5, 2023              Respectfully Submitted,


                                   AYLSTOCK,   WITKIN,              KREIS      AND
                                   OVERHOLTZ, P.L.L.C.


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                                    Attorneys for Plaintiffs




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Defendant RB Health
Mucinex Sinus – Max: Pressure, Pain & Cough (Capsules)
Mucinex Sinus – Max: Severe Congestion & Pain (Capsules)
Mucinex Sinus-Max: Severe Congestion & Pain (Caplets)
Mucinex Sinus – Max: Pressure, Pain & Cough (Caplets)
Mucinex Nightshift: Sinus (Caplets)
Mucinex Sinus – Max: Day/Night (Liquid Gels)
Mucinex Sinus-Max Day Pressure, Pain & Cough (Caplets)
Mucinex Nightshift Night Sinus (Caplets)
Mucinex Fast-Max Congestion and Cough (Liquid Gels)


Defendants Johnson & Johnson and Kenvue
Tylenol Sinus + Headache (Caplets)
Tylenol Sinus Severe (Caplets)
Tylenol Cold + Flu Multi-Action Day/Night (Caplets)
Tylenol Cold + Flu Multi-Action Day (Caplets)
Sudafed Sinus Congestion Daytime/Nighttime (Tablets)
Sudafed-PE-Sinus Pressure+Pain (Tablet)
Sudafed-PE: Sinus Congestion (Tablet)
Benadryl Allergy Plus Congestion (Tablets)

Defendant GlaxoSmithKline and Haleon
Theraflu Expressmax Severe Cold & Cough Daytime/Nighttime (Caplets)
Theraflu Expressmax Severe Cold & Cough Daytime (Caplets)
Theraflu Expressmax Severe Cold & Cough Nighttime (Caplets)

Defendant Procter & Gamble
DayQuil SEVERE Maximum Strength Cough, Cold & Flu Daytime Relief LiquiCaps
DayQuil and NyQuil Cough, Cold & Flu Relief LiquiCaps Co-Pack
DayQuil and NyQuil VapoCOOL SEVERE Maximum Strength Cold & Flu + Congestion Relief
(Caplets)
DayQuil Cough, Cold & Flu Daytime Relief LiquiCaps
DayQuil VapoCOOL SEVERE Maximum Strength Cold & Flu + Congestion Daytime Relief
(Caplets)
NyQuil SEVERE Maximum Strength Cough, Cold & Flu Nighttime Relief LiquiCaps
NyQuil VapoCOOL SEVERE Maximum Strength Cold & Flu + Congestion Nighttime Relief
(Caplets)
Sinex SEVERE ALL IN ONE SINUS + MUCUS LiquiCaps
Sinex SEVERE ALL IN ONE SINUS LiquiCaps

Defendant Bayer AG
Alka-Seltzer Plus Maximum Strength Day & Night Cold & Flu Powermax Gels
Alka-Seltzer Plus Maximum Strength Day & Night Cold & Flu Liquid Gels
Alka-Seltzer Plus Maximum Strength Cough, Mucus & Congestion Powermax Gels
Alka-Seltzer Plus Maximum Strength Sinus, Allergy & Cough Powermax Gels
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Alka-Seltzer Plus Maximum Strength Day & Night Cough, Mucus & Congestion Powermax
Gels
Alka-Seltzer Plus Maximum Strength Day & Night Sinus Congestion & Pain Powermax Gels
Alka-Seltzer Plus Maximum Strength Sinus Congestion & Pain Powermax Gels
Alka-Seltzer Plus Maximum Strength Night Cold & Flu Powermax Gels
Alka-Seltzer Plus Maximum Strength Day Cold & Flu Powermax Gels
Alka-Seltzer Plus Maximum Strength Cold & Cough Liquid Gels

Defendant Pfizer and Haleon
Advil Sinus Congestion & Pain
Advil Allergy & Congestion Relief
